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                          UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                          LAFAYETTE-OPELOUSAS DIVISION

  UNITED STATES OF AMERICA                          *       CRIM. NO. 06-60074-10

  VERSUS                                            *       JUDGE DOHERTY

  MICHAEL SCOTT WYATT                               *       MAGISTRATE JUDGE HILL

                          REPORT AND RECOMMENDATION
                          (Motion to Dismiss – Record Doc. 353)

         The defendant, MICHAEL SCOTT WYATT, has filed a Motion to Dismiss

  Because of Prosecutorial/Governmental Misconduct/Vindictive Prosecution. [Record

  Doc. 353]. The government opposes the motion. [Record Doc. 384]. The motion was

  referred to the undersigned for report and recommendation. [Record Doc. 374]. For the

  following reasons, it is the recommendation of the undersigned that the motion to dismiss

  be denied.

                                   Procedural background

         The defendant, MICHAEL SCOTT WYATT (“Wyatt”), was indicted with 12

  co-defendants in a multiple-count indictment charging various drug violations. A review

  of the indictment, along with the pleadings filed by the government in opposition to the

  motion, reveals that the government alleges that the defendant, Wyatt, knowingly

  participated in a large-scale drug conspiracy by knowingly creating hidden compartments

  in vehicles used to transport illegal drugs into this district. These hidden compartments,

  allegedly, were used to secrete the drugs being transported. This was accomplished,
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  allegedly, through B&M Auto and 4 x 4 (“B&M”), a business in which Wyatt and his co-

  defendant, Barry Neveu, were partners.

         On January 17, 2007, Wyatt appeared before the undersigned and entered a plea of

  not guilty to all counts. [Record Doc. 51]. The undersigned denied Wyatt’s request for

  appointment of counsel, finding that the defendant, Wyatt, was financially able to retain

  counsel. [Record Doc. 53]. Thereafter, Attorney William L. Goode (“Goode”) enrolled as

  counsel for the defendant, Wyatt. [Record Doc. 84]. A superseding indictment was

  returned [Record Doc. 235], and the defendant again entered pleas of not guilty to all

  counts. [Record Doc. 284]. On May 20, 2008, the defendant, Wyatt, filed this Motion to

  Dismiss, alleging that the government had violated his rights to due process under the

  Fifth Amendment, his right to counsel under the Sixth Amendment and had engaged in

  outrageous conduct which required this Court, under its general supervisory powers, to

  dismiss the indictment. [Record Doc. 353]. On June 18, 2008, the government filed its

  opposition to the motion to dismiss. [Record Doc. 384].

         On June 23, 2008, the undersigned ordered counsel for the defendant, Wyatt, to

  file a supplemental memorandum in support of his motion, fully briefing the legal and

  factual issues which the defendant alleged entitled him to the relief of dismissal of the

  indictment. [Record Doc. 386]. The undersigned also ordered the government to respond

  to the defendant’s supplemental memorandum and, additionally, affirmatively declare

  whether or not the government intended to use any post-indictment statement allegedly



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  made by Wyatt to federal agents, or any evidence derived from any such statement,

  against Wyatt at trial.

         In its response to the Court’s order, the government affirmatively declared that it

  “does not intend to use any post-indictment statement made by the defendant . . . [to] any

  . . . federal agent” at trial. [Record Doc. 388]. Additionally, the government

  affirmatively declared that it did not intend to use any evidence derived from any such

  statement against the defendant at trial. Thereafter, the defendant filed his supplemental

  memorandum in support of the motion to dismiss. [Record Doc. 393]. The government

  then filed its supplemental memorandum in opposition. [Record Doc. 395]. This report

  and recommendation follows.

                                The arguments of the parties

         The defendant argues that the government has embarked on a pattern of conduct

  violating the defendant’s attorney/client privilege and has engaged in deceitful acts

  designed to scare the defendant into pleading guilty and, finally, has attempted to

  intimidate counsel for the defendant (Goode).

         The defendant argues that the government engaged in deceptive practices designed

  to mislead Goode, and the other defense lawyers in this case, in an effort to induce the

  defendants, including Wyatt, to plead guilty. The defendant argues that these deceptive

  practices included e-mails sent to counsel for the defendants which were intentionally

  misleading in that these e-mails indicated that the government’s “target” defendant, Eric



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  Alexander, was preparing to plead guilty when, in fact, no such plea was imminent.

  Wyatt further argues that the government attempted to scare the defendants into pleading

  guilty by threatening that if the defendants did not plead guilty before Alexander entered

  his guilty plea, then the defendants would not be entitled to get a reduction in their

  individual sentences for “substantial assistance”. The e-mails to which Wyatt points as

  misleading were sent on April 29, 2008. Counsel for the government, AUSA Brett

  Grayson (“Grayson”), informed the defendants, on May 16, 2008, that Alexander had

  accepted the government’s plea offer.

         Additionally, the defendant, Wyatt, alleges that his rights under the Fifth and Sixth

  Amendments to the United States Constitution were violated by Special Agent Erol

  Catalan (“Catalan”), Immigration and Customs Enforcement (“ICE”). The defendant

  alleges that Catalan violated the defendant’s Fifth and Sixth Amendment rights by

  meeting with Wyatt outside of counsel’s presence, and instructing Wyatt not to inform his

  counsel of these meetings. Furthermore, the defendant alleges that Catalan attempted to

  force Wyatt to enter a guilty plea, by promising Wyatt a sentence of 36 months

  incarceration. Finally, the defendant alleges that Catalan attempted to persuade Wyatt to

  enter a plea of guilty, by lying to Wyatt and informing him that one of the co-defendants

  had pled guilty and received a sentence of five years probation. Wyatt further alleges that

  Catalan told Wyatt not to tell Goode about this conversation.




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         Finally, Goode alleges that the government improperly threatened to bring a

  motion for sanctions against him for purported violations of Rules 16 and 17, Fed. R.

  Crim. P., and that these improper threats by the government are grounds for dismissal of

  the indictment. The defendant attached copies of various e-mails and affidavits to the

  motion to dismiss and the supplemental memorandum in support of the motion.

         In response, the government denies any improper conduct, and any improper

  contact between Catalan and the defendant, Wyatt. The government characterizes the e-

  mails sent by Grayson to defense counsel as nothing more than normal plea negotiations.

  The government argues that the content of these e-mails shows nothing more than the

  government pointing out the potential risk to each defendant in the event that the

  defendant, Alexander, entered a plea of guilty before the other defendants did so. This,

  the government argues, is clearly proper.

         Next, the government denies that Catalan violated Wyatt’s Fifth or Sixth

  Amendment rights. In fact, the government argues that Wyatt never invoked his rights

  under the Fifth Amendment, and,actually contacted Catalan, rather than vice versa.

         The government denies attempting to intimidate Goode, and rather argues that

  Goode engaged in discovery practices which are not sanctioned by the Federal Rules of

  Criminal Procedure.

         Finally, the government argues that the defendant has failed to show any prejudice

  from any of the actions of the government, and that, therefore, dismissal of the indictment



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  would be improper. The government also attached copies of various e-mails to its

  oppositions, along with affidavits from, among others, Catalan. In his affidavit, Catalan

  denies threatening or misleading Wyatt, and denies telling Wyatt not to contact his

  counsel, Goode.

                                           Law and analysis

          The defendant argues that the government’s actions in this case violate his due

  process rights (apparently under the Fifth Amendment), violate his Sixth Amendment

  right to counsel and are so outrageous that the Court should exercise its supervisory

  powers to dismiss the indictment.1 The defendant alleges multiple acts of governmental

  misconduct, including Catalan’s contacts with the defendant after the defendant’s right to

  counsel had attached, misleading actions by AUSA Grayson during plea negotiations and

  the alleged attempted intimidation of defense counsel by government lawyers. What is

  strikingly absent from the defendant’s pleadings are any allegation of actual prejudice

  suffered by the defendant as a result of any of these acts of alleged governmental

  misconduct.

          The defendant relies, in part, on McNabb v. United States, 318 U.S. 332, 63 S.Ct.

  608, 87 L.Ed. 819 (1943), for the proposition that the courts, in the exercise of their

  supervisory powers, may formulate procedural rules for establishing and maintaining

  civilized standards of procedure and evidence, beyond those minimal safeguards


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            While not completely clear, the undersigned understands that the defendant believes that the
  dismissal should be with prejudice.

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  generally regarded as due process of law. Id., 318 U.S. at 340, 63 S.Ct. at 613. The

  defendant then argues that where the governmental conduct in question is flagrant or

  repeated, and which is outrageous or shocks the conscience, dismissal of the indictment is

  the proper remedy. United States v. Omni Int’l Corp., 634 F.Supp. 1414, 1438 (D. Md.

  1986); United States v. Baskes, 433 F.Supp. 799, 806 (N.D. Ill.1977).

         Furthermore, the defendant argues that the Sixth Amendment limits the

  government’s investigative method after the accused has been indicted and counsel has

  been retained. Thereafter, the defendant argues, he has the right to rely on counsel as the

  medium between the government and him, and that the government violates the

  defendant’s Sixth Amendment right to counsel by secretly questioning the accused after

  indictment and appointment of counsel, regardless of who creates the opportunity. Maine

  v. Moulton, 474 U.S. 159, 176, 106 S.Ct. 477, 487, 88 L.Ed.2d 481 (1985); United States

  v. Johnson, 954 F.2d 1015, 1025 (5 th Cir. 1992).

         Finally, the defendant argues that the government’s “outrageous and intolerable”

  conduct in this case violates his right to due process.2

         The government denies any improper conduct in this case. Further, the

  government argues that, in the absence of prejudice, the defendant is not entitled to relief.

         In United States v. McKenzie, 678 F.2d 629, 631 (5 th Cir. 1982), rehearing and

  rehearing en banc den., 685 F.2d 1386 (5 th Cir. 1982), cert. den., 459 U.S. 1038, 103

         2
             Presumably, the right to due process guaranteed by the Fifth Amendment.

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  S.Ct. 450, 74 L.Ed.2d 605 (1982), the court recognized that even in the case of the most

  “egregious prosecutorial misconduct”, an indictment may be dismissed only on a showing

  of actual prejudice to the accused. The court went on to note that the rule was the same,

  whether the court was acting under its supervisory authority or its duty to protect the

  constitutional rights of the defendant. The argument that a different standard should be

  applied when reviewing the dismissal of an indictment under the court’s supervisory

  powers, rather than on constitutional grounds, was specifically rejected. Id. Accordingly,

  it appears clear that unless the defendant can show that he suffered actual prejudice as a

  result of governmental misconduct, no matter how egregious, dismissal of the indictment

  is not warranted.3

          This rule has been consistently applied in this circuit. See United States v. Johnson

  68 F.3d 899, 902 (5 th Cir. 1995) (a defendant must show prejudice to his ability to receive

  a fair trial before charges will be dismissed for the government’s violation of his Sixth

  Amendment rights); United States v. Johnson, 954 F.2d at1021-22(remedy for violation

  of the Sixth Amendment is suppression of the defendant’s statements and remand for a

  new trial); United States v. Welborn, 849 F.2d 980, 985 (5 th Cir. 1988) (“the power to

  impose the extreme sanction of dismissal with prejudice [is proper] only in extraordinary

  situations and only where the government’s misconduct has prejudiced the defendant”);


          3
            The defendant recognizes the holding in McKenzie. [Record Doc. 393, page 19]. The defendant
  relies on United States v. Serubo, 604 F.2d 807, 817 (3d Cir. 1979) and United States v. McCord, 509
  F.2d 334, 349 (D.C. Cir. 1974), for the proposition that actual prejudice need not be shown in order for
  the indictment to be dismissed. That is not the rule in this circuit.

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  United States v. Campagnuolo, 592 F.2d 852, 865 (5 th Cir. 1979) (“we have held that a

  district judge may dismiss an indictment with prejudice because of misconduct by the

  government only if that misconduct actually prejudiced the defendant”).

          The United States Supreme Court has indicated, in dicta, that there may be

  circumstances in which the conduct of law enforcement agents is so outrageous that due

  process principles would absolutely bar the government from invoking judicial process to

  obtain a conviction. United States v. Russell, 411 U.S. 423, 430, 93 S.Ct. 1630, 1642-43,

  36 L.Ed.2d 366 (1973) and Hampton v. United States, 425 U.S. 484, 487, 96 S.Ct. 1646,

  1649, 48 L.Ed.2d 113 (1976). This dicta has been recognized by the Fifth Circuit,

  although it has apparently never been applied in this circuit.4 See United States v. Nissen,

  928 F.2d 690, 693 (5 th Cir. 1991) (“[t]he due process clause also places other limits on the

  improper conduct by law enforcement agents, even as against culpable persons . . .

  [h]owever, a due process violation will be found only in the rarest and most outrageous

  circumstances.”) (internal citation omitted); United States v. Posada-Carriles, 541 F.3d

  344, 353 (5 th Cir. 2008) (same); and United States v. Collins, 972 F.2d 1385, 1396 (5 th

  Cir. 1992) (same). As stated above, none of the pleadings filed by the defendant in

  support of his motion allege that he sustained any prejudice as a result of the



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           In Collins, supra, the court noted that there appeared to be only one circuit court case in which a
  conviction was invalidated on Russell-Hampton grounds, United States v. Twigg, 588 F. 2d 373 (3d Cir.
  1978). In that case, the government devised and ran the criminal enterprise with only meager assistance
  from the defendants. The undersigned has been unable to locate any other circuit case which has
  dismissed an indictment on these grounds.

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 government’s actions. A review of the record by the undersigned has not disclosed

 anything that even remotely resembles prejudice.

         Absent prejudice, the defendant must rely on the dicta in Russell-Hampton, as

 recognized in Nissen. Simply stated, the undersigned does not find that the allegations of

 misconduct by the government here, even if true, approach this very high standard. This is

 not one of those “rarest” of cases with the “most outrageous” circumstances of

 governmental misconduct.

         Since the defendant has not shown any prejudice as a result of the government’s

 alleged violation of his Fifth or Sixth Amendment rights, and since this is not one of those

 “rarest” of cases, the defendant is not entitled to the relief which he seeks. The defendant

 has failed to show that the indictment pending against him in this case should be

 dismissed.5

         While the undersigned has concluded that the defendant has failed to show any

 prejudice as a result of what he contends to be unlawful governmental action and that,

 therefore, the motion should be denied, the undersigned feels compelled to comment on

 the underlying factual basis for the defendant’s motion.

         My review of the e-mails between counsel for the government and the various

 defendants do not lead me to the conclusion that counsel for the government acted


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          Since the defendant failed to make even a colorable showing of prejudice, the undersigned finds
 that no evidentiary hearing on the motion is necessary.

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 improperly. The e-mails disclose that settlement negotiations were underway between the

 government and several of the defendants, and that the government was warning the

 defendants that unless they pled guilty before Alexander did, their sentences might well

 be more severe because they might not be able to qualify for a downward departure under

 the United States Sentencing Guidelines (“USSG”) for “substantial assistance”. Given

 the way that “substantial assistance” is defined by the USSG, that is likely a true

 statement. If counsel for any defendant did not believe that Alexander’s plea agreement

 was imminent, they could simply have called counsel for Alexander to find out. There is

 no indication that counsel for the government asked counsel for Alexander to mislead

 counsel for any of the co-defendants.

         With regard to the various discussions between counsel for the government and

 defense counsel, again, the undersigned does not find those discussions to be

 intimidating. It appears clear to the undersigned that both sides were playing “hard ball”,

 which is precisely what the undersigned would expect from highly experienced counsel

 on both sides. The fact that counsel for the defendant, Wyatt, filed this motion is proof

 that he was not intimidated by counsel for the government.6



         6
           In United States v. Weeks, 919 F.2d 248, 254 (5th Cir.1990), the court held that the investigation
 of defense counsel, by the government, for witness tampering and obstruction of justice, during trial did
 not rise to the level of "outrageous" or "shocking to the universal sense of justice", such that dismissal of
 the indictment was proper and, in addition, a defendant must show actual prejudice to his ability to
 receive a fair trial before dismissal of the indictment is proper. If pursuing a criminal investigation
 against defense counsel during trial does not warrant dismissal, threatening to ask a court to sanction
 defense counsel, if that is what indeed happened, can hardly be said to warrant dismissal.

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        Of more concern is the allegation that Catalan interfered with the Sixth

 Amendment rights of the defendant, Wyatt. Catalan signed an affidavit which is attached

 to the government’s supplemental memorandum. [Record Doc. 384, Ex. 6]. In the

 affidavit, Catalan stated that he executed a search warrant at B&M on July 20, 2006.

 After Catalan gave Wyatt his Miranda rights, Wyatt made “incriminating statements” and

 offered to assist in the investigation. Wyatt did not ask for counsel.

        Thereafter, according to Catalan, Wyatt contacted him on several occasions to

 report suspicious activity. In September 2006, before the indictment, Wyatt was called by

 Catalan to assist in locating a secret compartment, which the police believed to be present

 on a vehicle which had been stopped for a traffic violation.7

        After Wyatt’s indictment in November 2006, Catalan understood that Wyatt was

 being represented by Mr. Randall McCann. In fact, McCann appeared for the defendant,

 only provisionally, at his arraignment on January 17, 2007. Thereafter, Goode enrolled as

 counsel for the defendant on January 30, 2007. Catalan stated in his affidavit that it was

 his understanding that McCann continued to represent Wyatt, and that Wyatt was

 continuing to cooperate with the government. Catalan denied knowing that Goode was

 representing Wyatt until June 2007.

        While Catalan said, in his affidavit, that it was his understanding that Wyatt’s

 cooperation, and their direct contact, was to continue, he, Catalan, never confirmed that

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            The compartment was apparently located before Wyatt arrived.

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 fact. Catalan and Wyatt continued to have meetings and conversations through, at least,

 March 2008. In March 2008, after receiving an e-mail from Grayson, Catalan telephoned

 Wyatt and, apparently, discussed with Wyatt some of the facts of the case, plea

 negotiations and Wyatt’s counsel, Goode. There is no doubt that, at least by this time,

 Catalan knew that Wyatt was being represented by Goode.

        As the government acknowledges, Wyatt’s right to counsel attached at the time of

 arraignment. Michigan v. Jackson, 475 U.S. 625, 636,106 S.Ct. 1404, 1411, 89 L.Ed.2d

 631 (1986). In Moulton, the court said that the Sixth Amendment imposed an affirmative

 obligation on the prosecution to “respect and preserve” the accused’s choice to have

 counsel, and that the prosecution has an affirmative obligation not to circumvent, nor

 dilute, the protection of counsel. Id., 474 U.S. at 171, 106 S.Ct at 484. The court went on

 to say that it was the prosecution’s affirmative obligation not to act in a manner that

 circumvents the protections accorded the accused by his Sixth Amendment right to

 counsel. Id., 474 U.S. at 176,106 S.Ct at 487; see also Johnson, 954 F.2d at 1019-20 (the

 government violates the defendant’s Sixth Amendment right to counsel by secretly

 questioning the defendant regardless of who creates the opportunity).

        Without regard to Catalan’s earlier belief, it should have been clear, after he

 received Grayson’s e-mail in March 2008, that he, Catalan, was no longer free to contact

 Wyatt without first contacting counsel, Goode. This Catalan did not do. Accordingly, it

 appears to the undersigned that, at least as of March 2008, Catalan interfered with


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 Wyatt’s Sixth Amendment right to counsel. That, of course, does not end the inquiry. It

 is clear that the remedy for a violation of the defendant’s Sixth Amendment rights is not

 dismissal of the prosecution, but is rather suppression of any evidence obtained as a result

 of the violation. Johnson, 954 F.2d 1015.

        In United States v. Morrison, 449 U.S. 361,101 S.Ct. 665, 66 L.Ed.2d 564 (1981)

 two DEA agents, being aware that the defendant had been indicted and had retained

 counsel, sought to obtain the defendant’s cooperation in a related investigation. They met

 and conversed with the defendant without the knowledge of, or permission of, counsel,

 and affirmatively disparaged defendant’s counsel. Additionally, the agents told the

 defendant that she would gain benefits if she cooperated with them, but would face a stiff

 jail term if she did not. Id. at 666. There was no allegation that the alleged Sixth

 Amendment violation had prejudiced the quality or effectiveness of counsel, or that it had

 any other adverse impact on her legal position. Id. at 667.8

        The Supreme Court reversed the dismissal of the indictment by the Third Circuit,

 and said,

                   Our approach has thus been to identify and then neutralize the taint by
                   tailoring relief appropriate in the circumstances to assure the defendant the
                   effective assistance of counsel and a fair trial.


                                  *               *              *



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            The Court assumed a violation of the Sixth Amendment for purposes of the opinion.

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               More particularly, absent demonstrable prejudice, or substantial threat
               thereof, dismissal of the indictment is plainly inappropriate, even though the
               violation may have been deliberate.


 Id. at 668.


        The undersigned finds the facts in Morrison to be even more egregious than those

 presented by this case. As in Morrison, there is no indication here of any demonstrable

 prejudice, or even threat of prejudice, to the defendant as a result of what the undersigned

 believes to be the Sixth Amendment violation by the government. Since the government

 has affirmatively stated that it does not intend to use any statement made by Wyatt to

 Catalan after his indictment at trial, and that it does not intend to use any evidence derived

 from any such statement at trial, the remedy of suppression is unnecessary; there is

 nothing to suppress. Morrison makes it clear that dismissal of the indictment is not the

 proper remedy in this case.

                                         Conclusion

        For the above reasons, it is the recommendation of the undersigned that the motion

 filed by the defendant, Wyatt, to dismiss the indictment be denied.

        Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have ten (10) business days from service of this report

 and recommendation to file specific, written objections with the Clerk of Court. A party

 may respond to another party's objections within ten (10) days after being served with a


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 copy of any objections or response to the District judge at the time of filing.

        Failure to file written objections to the proposed factual findings and/or the

 proposed legal conclusions reflected in this Report and Recommendation within ten

 (10) days following the date of its service, or within the time frame authorized by

 Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either the factual

 findings or the legal conclusions accepted by the District Court, except upon

 grounds of plain error. See Douglass v. United Services Automobile Association, 79

 F.3d 1415 (5th Cir. 1996).

        Signed this 15 th day of October, 2008, in Lafayette, Louisiana.




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